Case 8:25-cv-01335   Document 1-8   Filed 06/20/25   Page 1 of 14 Page ID #:81




                       EXHIBIT 8
             Case 8:25-cv-01335                      Document 1-8                 Filed 06/20/25               Page 2 of 14 Page ID #:82


       Generated on: This page was generated by TSDR on 2025-06-20 15:01:20 EDT
                 Mark: IN-N-OUT




  US Serial Number: 75396996                                                        Application Filing Nov. 28, 1997
                                                                                                Date:
     US Registration 2217307                                                       Registration Date: Jan. 12, 1999
           Number:
             Register: Principal
           Mark Type: Trademark
     TM5 Common Status                                                           LIVE/REGISTRATION/Issued and Active
            Descriptor:
                                                                                 The trademark application has been registered with the Office.



               Status: The registration has been renewed.
         Status Date: Apr. 19, 2019
Publication Date:Oct. 20, 1998

                                                                   Mark Information
          Mark Literal IN-N-OUT
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 1 - TYPESET WORD(S) /LETTER(S) /NUMBER(S)
              Type:

                                                      Related Properties Information
 Claimed Ownership 1031095, 1031096, 1023506, 1101638, 1085163, 1101628 and others
              of US
      Registrations:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: watches
         International 014 - Primary Class                                              U.S Class(es): 002, 027, 028, 050
            Class(es):
        Class Status: ACTIVE
            First Use: Aug. 16, 1988                                               Use in Commerce: Aug. 16, 1988

                  For: decals in the nature of bumper stickers; publications in the nature of house organs; gift certificates
         International 016 - Primary Class                                              U.S Class(es): 002, 005, 022, 023, 029, 037, 038, 050
            Class(es):
        Class Status: ACTIVE
            First Use: 1979                                                        Use in Commerce: 1979

                  For: backpacks
         International 018 - Primary Class                                              U.S Class(es): 001, 002, 003, 022, 041
            Class(es):
        Class Status: ACTIVE
                Case 8:25-cv-01335                Document 1-8                Filed 06/20/25               Page 3 of 14 Page ID #:83


             First Use: Apr. 1994                                              Use in Commerce: Jul. 1994

                  For: coffee mugs and thermal mugs
          International 021 - Primary Class                                           U.S Class(es): 002, 013, 023, 029, 030, 033, 040, 050
             Class(es):
          Class Status: ACTIVE
             First Use: Aug. 16, 1988                                          Use in Commerce: Aug. 16, 1988

                  For: shirts, baseball caps, letterman's jackets, and cooks aprons
          International 025 - Primary Class                                           U.S Class(es): 022, 039
             Class(es):
          Class Status: ACTIVE
             First Use: Jan. 20, 1987                                          Use in Commerce: Jan. 20, 1987

                                                    Basis Information (Case Level)
             Filed Use: Yes                                                           Currently Use: Yes
             Filed ITU: No                                                            Currently ITU: No
             Filed 44D: No                                                            Currently 44D: No
             Filed 44E: No                                                            Currently 44E: No
             Filed 66A: No                                                            Currently 66A: No
      Filed No Basis: No                                                      Currently No Basis: No

                                                    Current Owner(s) Information
          Owner Name: In-N-Out Burgers
     Owner Address: 4199 Campus Drive, 9th Floor
                    Irvine, CALIFORNIA UNITED STATES 92612
   Legal Entity Type: CORPORATION                                                State or Country CALIFORNIA
                                                                                Where Organized:

                                              Attorney/Correspondence Information
                                                                         Attorney of Record
     Attorney Name: Valerie Sarigumba                                            Docket Number: IOB-65
    Attorney Primary rblake@innout.com                                                Attorney Email Yes
     Email Address:                                                                      Authorized:
                                                                           Correspondent
     Correspondent Valerie Sarigumba
     Name/Address: IN-N-OUT BURGER
                   4199 CAMPUS DR 9TH FL
                   IRVINE, CALIFORNIA UNITED STATES 92612
                Phone: 9495096289
   Correspondent e- vsarigumba@innout.com rblake@innout.com                     Correspondent e- Yes
              mail:                                                              mail Authorized:
                                                               Domestic Representative - Not Found

                                                              Prosecution History
                                                                                                                                              Proceeding
   Date               Description
                                                                                                                                              Number
Apr. 19, 2019      NOTICE OF ACCEPTANCE OF SEC. 8 & 9 - E-MAILED
Apr. 19, 2019      REGISTERED AND RENEWED (SECOND RENEWAL - 10 YRS)
Apr. 19, 2019      REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
Feb. 19, 2019      CASE ASSIGNED TO POST REGISTRATION PARALEGAL
Jan. 31, 2019      TEAS SECTION 8 & 9 RECEIVED
Apr. 04, 2018      NOTICE OF SUIT
Mar. 05, 2018      NOTICE OF SUIT
Mar. 16, 2017      NOTICE OF SUIT
                Case 8:25-cv-01335             Document 1-8             Filed 06/20/25             Page 4 of 14 Page ID #:84

Mar. 16, 2017      NOTICE OF SUIT
Feb. 16, 2017      NOTICE OF SUIT
Feb. 16, 2017      NOTICE OF SUIT
May 18, 2011       CASE FILE IN TICRS
Apr. 20, 2011      CASE FILE IN TICRS
Jan. 04, 2010      NOTICE OF SUIT
Oct. 30, 2008      REGISTERED AND RENEWED (FIRST RENEWAL - 10 YRS)
Oct. 30, 2008      REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
Oct. 09, 2008      ASSIGNED TO PARALEGAL
Oct. 03, 2008      REGISTERED - COMBINED SECTION 8 (10-YR) & SEC. 9 FILED
Oct. 03, 2008      PAPER RECEIVED
Jun. 16, 2008      NOTICE OF SUIT
Jun. 02, 2008      NOTICE OF SUIT
May 20, 2008       NOTICE OF SUIT
Sep. 01, 2004      REGISTERED - SEC. 8 (6-YR) ACCEPTED & SEC. 15 ACK.
Jul. 21, 2004      REGISTERED - SEC. 8 (6-YR) & SEC. 15 FILED
Jan. 12, 1999      REGISTERED-PRINCIPAL REGISTER
Oct. 20, 1998      PUBLISHED FOR OPPOSITION
Sep. 18, 1998      NOTICE OF PUBLICATION
Aug. 04, 1998      APPROVED FOR PUB - PRINCIPAL REGISTER
Jul. 23, 1998      ASSIGNED TO EXAMINER

                                              TM Staff and Location Information
                                                                TM Staff Information - None
                                                                       File Location
   Current Location: GENERIC WEB UPDATE                                    Date in Location: Apr. 19, 2019

                                                                 Proceedings
   Summary
          Number of 9
        Proceedings:

                                                 Type of Proceeding: Opposition

           Proceeding 91252096                                                    Filing Date: Nov 06, 2019
             Number:
                Status: Terminated                                               Status Date: Feb 26, 2020
          Interlocutory MIKE WEBSTER
              Attorney:
                                                                       Defendant
                 Name: WinIT proposals, LLC
      Correspondent SHERRI E BIANCO
           Address: 11314 KINGS VALLEY DRIVE
                    DAMASCUS MD UNITED STATES , 20872
   Correspondent e- winit.proposals@gmail.com
              mail:
Associated marks
                                                                                                                                Registration
   Mark                                                                                Application Status       Serial Number
                                                                                                                                Number
IN & OUT GRAPHIX                                                                                              88333837
                                                                       Plaintiff(s)
                 Name: In-N-Out Burgers
      Correspondent VALERIE SARIGUMBA
           Address: 4199 CAMPUS DRIVE 9TH FLOOR
                    IRVINE CA UNITED STATES , 92612
   Correspondent e- vsarigumba@innout.com
              mail:
              Case 8:25-cv-01335             Document 1-8             Filed 06/20/25             Page 5 of 14 Page ID #:85

Associated marks
                                                                                                                                Registration
    Mark                                                                             Application Status       Serial Number
                                                                                                                                Number
IN-N-OUT                                                                                                    75137201          2285823
IN-N-OUT                                                                                                    73133175          1085163
IN-N-OUT                                                                                                    73133174          1101638
IN-N-OUT                                                                                                    73133176          1101628
IN-N-OUT                                                                                                    75396996          2217307
IN-N-OUT                                                                                                    73738305          1522799
IN-N-OUT                                                                                                    73738306          1525982
IN-N-OUTBURGER                                                                                              75158254          2285842
                                                                 Prosecution History
    Entry Number           History Text                                                                       Date              Due Date
7                       TERMINATED                                                                          Feb 26, 2020
6                       BD DECISION: OPP SUSTAINED                                                          Feb 26, 2020
5                       W/DRAW OF APPLICATION W/O CONSENT                                                   Feb 17, 2020
4                       ANSWER                                                                              Nov 24, 2019
3                       INSTITUTED                                                                          Nov 06, 2019
2                       NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                            Nov 06, 2019      Dec 16, 2019
1                       FILED AND FEE                                                                       Nov 06, 2019

                                                        Type of Proceeding: Opposition

            Proceeding 91217195                                                 Filing Date: May 30, 2014
              Number:
               Status: Terminated                                              Status Date: Sep 23, 2014
           Interlocutory ROBERT COGGINS
               Attorney:
                                                                     Defendant
                Name: IN-N-OUT Grooming
      Correspondent IN-N-OUT GROOMING
           Address: 7300 BROMPTON ST , APT 4723
                    HOUSTON TX UNITED STATES , 77025-2166
    Correspondent e- Josh.Mica@gmail.com
               mail:
Associated marks
                                                                                                                                Registration
    Mark                                                                             Application Status       Serial Number
                                                                                                                                Number
IN-N-OUT GROOMING                                                                                           85934540
                                                                     Plaintiff(s)
                Name: In-N-Out Burgers
      Correspondent VALERIE SARIGUMBA
           Address: IN-N-OUT BURGERS
                    4199 CAMPUS DR, 9TH FLOOR
                    IRVINE CA UNITED STATES , 92612
    Correspondent e- vsarigumba@innout.com , rblake@innout.com
               mail:
Associated marks
                                                                                                                                Registration
    Mark                                                                             Application Status       Serial Number
                                                                                                                                Number
IN-N-OUT                                                                                                    73133175          1085163
IN-N-OUT                                                                                                    73738305          1522799
IN-N-OUT                                                                                                    73738306          1525982
IN-N-OUT                                                                                                    73133176          1101628
IN-N-OUT                                                                                                    73133174          1101638
IN-N-OUT                                                                                                    75396996          2217307
IN-N-OUT BURGER                                                                                             73724456          1514689
IN-N-OUT BURGER                                                                                             74622923          1960015
               Case 8:25-cv-01335              Document 1-8            Filed 06/20/25             Page 6 of 14 Page ID #:86


                                                                 Prosecution History
     Entry Number           History Text                                                                        Date              Due Date
7                        TERMINATED                                                                          Sep 23, 2014
6                        BD DECISION: DISMISSED W/O PREJ                                                     Sep 23, 2014
5                        W/DRAW OF OPPOSITION                                                                Sep 02, 2014
4                        W/DRAW OF APPLICATION                                                               Aug 25, 2014
3                        PENDING, INSTITUTED                                                                 Jul 04, 2014
2                        NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                            Jul 04, 2014       Aug 13, 2014
1                        FILED AND FEE                                                                       May 30, 2014

                                                          Type of Proceeding: Opposition

             Proceeding 91206796                                                 Filing Date: Aug 30, 2012
               Number:
                Status: Terminated                                              Status Date: Mar 01, 2014
            Interlocutory YONG OH (RICHARD) KIM
                Attorney:
                                                                      Defendant
                 Name: Ryan Markus
       Correspondent JEFFREY M FURR
            Address: FURR LAW FIRM
                     2622 DEBOLT ROAD
                     UTICA OH UNITED STATES , 43080 9604
     Correspondent e- JeffMFurr@FurrLawFirm.com , jeffmfurr@aol.com
                mail:
Associated marks
                                                                                                                                  Registration
     Mark                                                                             Application Status        Serial Number
                                                                                                                                  Number
IN AND OUT                                                                                                   85507551
                                                                      Plaintiff(s)
                 Name: In-N-Out Burgers
       Correspondent VALERIE SARIGUMBA
            Address: IN N OUT BURGERS
                     4199 CAMPUS DRIVE, 9TH FLOOR
                     IRVINE CA UNITED STATES , 92612
     Correspondent e- bob@lauson.com , vsarigumba@innout.com , rblake@innout.com
                mail:
Associated marks
                                                                                                                                  Registration
     Mark                                                                             Application Status        Serial Number
                                                                                                                                  Number
IN-N-OUT                                                                                                     73133175           1085163
IN 'N' OUT                                                                                                   72389754           930203
IN-N-OUT                                                                                                     75396996           2217307
IN-N-OUT                                                                                                     75137201           2285823
                                                                 Prosecution History
     Entry Number           History Text                                                                        Date              Due Date
18                       TERMINATED                                                                          Mar 01, 2014
17                       BD DECISION: DISMISSED W/O PREJ                                                     Mar 01, 2014
16                       W/DRAW OF OPPOSITION                                                                Feb 14, 2014
15                       W/DRAW OF APPLICATION                                                               Feb 13, 2014
14                       TRIAL DATES RESET                                                                   Jan 30, 2014
13                       STIP FOR EXT                                                                        Jan 09, 2014
12                       SUSPENDED                                                                           Dec 18, 2013
11                       STIP FOR EXT                                                                        Nov 11, 2013
10                       SUSPENDED                                                                           Sep 17, 2013
9                        P MOT TO SUSP W/ CONSENT PEND SETTL NEGOTIATIONS                                    Aug 14, 2013
8                        CONSOLIDATED - PARENT/TRIAL DATES RESET                                             Apr 23, 2013
7                        STIPULATION FOR AN EXTENSION OF TIME                                                Feb 04, 2013
               Case 8:25-cv-01335               Document 1-8           Filed 06/20/25             Page 7 of 14 Page ID #:87

6                         APPEARANCE                                                                         Oct 12, 2012
5                         D'S MOTION TO CONSOLIDATE                                                          Oct 08, 2012
4                         ANSWER                                                                             Oct 08, 2012
3                         PENDING, INSTITUTED                                                                Aug 30, 2012
2                         NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                           Aug 30, 2012      Oct 09, 2012
1                         FILED AND FEE                                                                      Aug 30, 2012

                                                         Type of Proceeding: Opposition

             Proceeding 91206797                                                 Filing Date: Aug 30, 2012
               Number:
                 Status: Terminated                                             Status Date: Mar 01, 2014
            Interlocutory YONG OH (RICHARD) KIM
                Attorney:
                                                                      Defendant
                 Name: Markus, Ryan
       Correspondent JEFFREY M FURR
            Address: FURR LAW FIRM
                     2622 DEBOLT RD
                     UTICA OH UNITED STATES , 43080-9604
     Correspondent e- JeffMFurr@FurrLawFirm.com
                mail:
Associated marks
                                                                                                                                 Registration
     Mark                                                                             Application Status       Serial Number
                                                                                                                                 Number
IN N OUT                                                                                                     85511776
                                                                      Plaintiff(s)
                 Name: In-N-Out Burgers
       Correspondent VALERIE SARIGUEMBA
            Address: IN-N-OUT BURGERS
                     4199 CAMPUS DRIVE, 9TH FLOOR
                     IRVINE CA UNITED STATES , 92612
     Correspondent e- vsarigumba@innout.com , rblake@innout.com
                mail:
Associated marks
                                                                                                                                 Registration
     Mark                                                                             Application Status       Serial Number
                                                                                                                                 Number
IN-N-OUT                                                                                                     73133175          1085163
IN 'N' OUT                                                                                                   72389754          930203
IN-N-OUT                                                                                                     75396996          2217307
IN-N-OUT                                                                                                     75137201          2285823
                                                                  Prosecution History
     Entry Number           History Text                                                                       Date              Due Date
10                        TERMINATED                                                                         Mar 01, 2014
9                         BD DECISION: DISMISSED W/O PREJ                                                    Mar 01, 2014
8                         CONSOLIDATED - CHILD OF 91206797                                                   Apr 23, 2013
7                         STIPULATION FOR AN EXTENSION OF TIME                                               Feb 04, 2013
6                         APPEARANCE                                                                         Oct 12, 2012
5                         D'S MOTION TO CONSOLIDATE                                                          Oct 08, 2012
4                         ANSWER                                                                             Oct 08, 2012
3                         PENDING, INSTITUTED                                                                Aug 30, 2012
2                         NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                           Aug 30, 2012      Oct 09, 2012
1                         FILED AND FEE                                                                      Aug 30, 2012

                                                         Type of Proceeding: Opposition

             Proceeding 91196649                                                 Filing Date: Sep 28, 2010
               Number:
                 Status: Terminated                                             Status Date: Sep 21, 2011
            Interlocutory MICHAEL B ADLIN
               Case 8:25-cv-01335                 Document 1-8           Filed 06/20/25             Page 8 of 14 Page ID #:88

               Attorney:
                                                                        Defendant
                 Name: Cambrela, Inc.
       Correspondent MICHAEL FEDRICK
            Address: LOZA LOZA LLP
                     305 N 2ND AVE 127
                     UPLAND CA UNITED STATES , 91786 6064
     Correspondent e- mike@lozaip.com
                mail:
Associated marks
                                                                                                                                    Registration
     Mark                                                                               Application Status        Serial Number
                                                                                                                                    Number
IN AND OUT TRAFFIC SCHOOL                                                                                      77857320
                                                                        Plaintiff(s)
                 Name: In-N-Out Burgers, a California Corporation
       Correspondent ROBERT J LAUSON
            Address: LAUSON TARVER LLP
                     880 APOLLO STREET , SUITE 301
                     EL SEGUNDO CA UNITED STATES , 90245
     Correspondent e- bob@lauson.com
                mail:
Associated marks
                                                                                                                                    Registration
     Mark                                                                               Application Status        Serial Number
                                                                                                                                    Number
IN-N-OUT                                                                                                       73133175           1085163
IN-N-OUT BURGER                                                                                                75559057           2291183
IN & OUT                                                                                                       74323081           1780587
IN 'N' OUT                                                                                                     72389754           930203
IN-N-OUT                                                                                                       75396996           2217307
IN-N-OUT                                                                                                       75137201           2285823
IN-N-OUT BURGER FOUNDATION                                                                                     75061338           2035491
                                                                    Prosecution History
     Entry Number            History Text                                                                         Date              Due Date
18                         TERMINATED                                                                          Sep 21, 2011
17                         BD'S DECISION: DISMISSED W/O PREJUDICE                                              Sep 21, 2011
16                         STIP DISMISSAL WO PREJUDICE                                                         Sep 20, 2011
15                         SUSPENDED                                                                           Jul 08, 2011
14                         STIP TO SUSPEND PEND SETTLEMENT NEGOTNS                                             Jul 08, 2011
13                         RESPONSE DUE 30 DAYS (DUE DATE)                                                     May 10, 2011       Jun 09, 2011
12                         EXTENSION OF TIME GRANTED                                                           Apr 14, 2011
11                         STIPULATION FOR AN EXTENSION OF TIME                                                Apr 14, 2011
10                         P'S MOTION TO AMEND PLEADING/AMENDED PLEADING                                       Mar 23, 2011
9                          CHANGE OF CORRESPONDENCE ADDRESS                                                    Mar 11, 2011
8                          EXTENSION OF TIME GRANTED                                                           Feb 11, 2011
7                          D'S MOTION FOR AN EXTENSION OF TIME                                                 Feb 07, 2011
6                          CORRECTION TO BOARD`S ORDER                                                         Nov 18, 2010
5                          ANSWER                                                                              Nov 05, 2010
4                          OPP'S MOTION TO CORRECT OPP'S NAME                                                  Oct 22, 2010
3                          PENDING, INSTITUTED                                                                 Sep 28, 2010
2                          NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                            Sep 28, 2010       Nov 07, 2010
1                          FILED AND FEE                                                                       Sep 28, 2010

                                                              Type of Proceeding: Opposition

             Proceeding 91188062                                                   Filing Date: Dec 17, 2008
               Number:
                 Status: Terminated                                               Status Date: Mar 23, 2009
            Interlocutory ANGELA LYKOS
              Case 8:25-cv-01335               Document 1-8         Filed 06/20/25             Page 9 of 14 Page ID #:89

             Attorney:
                                                                   Defendant
                Name: GREAT BUYS, INC.
      Correspondent GREGG ZEGARELLI
           Address: ZEGARELLI LAW GROUP
                    429 FORBES AVE STE 1212
                    PITTSBURGH PA UNITED STATES , 15219-1625
    Correspondent e- mailroom.grz@zegarelli.com
               mail:
Associated marks
                                                                                                                              Registration
    Mark                                                                           Application Status       Serial Number
                                                                                                                              Number
INOUT DEALS                                                                                               77475624
                                                                   Plaintiff(s)
                Name: In-N-Out Burgers
      Correspondent Margaret Niver McGann
           Address: Parsons Behle & Latimer
                    201 South Main Street, Suite 1800
                    Salt Lake City UT UNITED STATES , 84111
    Correspondent e- mmcgann@parsonsbehle.com , cjohns@parsonsbehle.com , jwhite@parsonsbehle.com
               mail:
Associated marks
                                                                                                                              Registration
    Mark                                                                           Application Status       Serial Number
                                                                                                                              Number
IN-N-OUT                                                                                                  73133176          1101628
IN-N-OUT                                                                                                  73133175          1085163
IN-N-OUT                                                                                                  73133174          1101638
IN-N-OUT                                                                                                  75396996          2217307
IN-N-OUT                                                                                                  75137201          2285823
IN 'N' OUT                                                                                                72389754          930203
IN-N-OUT BURGER                                                                                           74622923          1960015
                                                              Prosecution History
    Entry Number           History Text                                                                     Date              Due Date
7                        TERMINATED                                                                       Mar 23, 2009
6                        BOARD'S DECISION: SUSTAINED                                                      Mar 23, 2009
5                        ABANDONMENT                                                                      Mar 20, 2009
4                        ANSWER                                                                           Jan 14, 2009
3                        PENDING, INSTITUTED                                                              Dec 17, 2008
2                        NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                         Dec 17, 2008      Jan 26, 2009
1                        FILED AND FEE                                                                    Dec 17, 2008

                                                       Type of Proceeding: Opposition

            Proceeding 91186958                                               Filing Date: Oct 14, 2008
              Number:
               Status: Terminated                                            Status Date: Sep 16, 2009
           Interlocutory CHERYL S GOODMAN
               Attorney:
                                                                   Defendant
                Name: Obadia Alain
      Correspondent Leonard Budow
           Address: Leonard N Budow PC
                    Ste 4613 350 5th Avenue
                    New York NY UNITED STATES , 10118-4613
    Correspondent e- lb@budowlaw.us
               mail:
Associated marks
                                                                                                                              Registration
    Mark                                                                           Application Status       Serial Number
                                                                                                                              Number
              Case 8:25-cv-01335                Document 1-8             Filed 06/20/25             Page 10 of 14 Page ID #:90

IN & OUT                                                                                                        77283492
                                                                         Plaintiff(s)
                 Name: In-N-Out Burgers
       Correspondent Ariana Gallisa
            Address: Pillsbury Winthrop Shaw Pittman LLP
                     P.O. Box 7780, Calendar/Docketing Dept.
                     San Francisco CA UNITED STATES , 94120-7880
     Correspondent e- sftrademarks@pillsburylaw.com , ariana.gallisa@pillsburylaw.com
                mail:
Associated marks
                                                                                                                                     Registration
     Mark                                                                                Application Status        Serial Number
                                                                                                                                     Number
IN-N-OUT                                                                                                        73133175           1085163
IN-N-OUT                                                                                                        73133176           1101628
IN-N-OUT                                                                                                        73133174           1101638
IN-N-OUT                                                                                                        73738305           1522799
IN-N-OUT                                                                                                        73738306           1525982
IN-N-OUT                                                                                                        75396996           2217307
IN-N-OUT                                                                                                        75137201           2285823
IN 'N' OUT                                                                                                      72389754           930203
ENTRADA-Y-SALIDA                                                                                                74599705           2048138
                                                                    Prosecution History
     Entry Number           History Text                                                                           Date              Due Date
13                       TERMINATED                                                                             Sep 16, 2009
12                       BOARD'S DECISION: SUSTAINED                                                            Sep 16, 2009
11                       WITHDRAWAL OF APPLICATION                                                              Sep 15, 2009
10                       CHANGE OF CORRESPONDENCE ADDRESS                                                       Aug 21, 2009
9                        APPEARANCE                                                                             Aug 21, 2009
8                        SUSPENDED                                                                              Jul 07, 2009
7                        STIP TO SUSPEND PEND SETTLEMENT NEGOTNS                                                Jul 07, 2009
6                        ANSWER                                                                                 Jan 20, 2009
5                        EXTENSION OF TIME GRANTED                                                              Oct 24, 2008
4                        STIPULATION FOR AN EXTENSION OF TIME                                                   Oct 24, 2008
3                        PENDING, INSTITUTED                                                                    Oct 14, 2008
2                        NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                               Oct 14, 2008       Nov 23, 2008
1                        FILED AND FEE                                                                          Oct 14, 2008

                                                            Type of Proceeding: Opposition

             Proceeding 91186018                                                    Filing Date: Aug 16, 2008
               Number:
                Status: Terminated                                                 Status Date: May 28, 2009
            Interlocutory MARY CATHERINE FAINT
                Attorney:
                                                                         Defendant
                 Name: Brian Quaglia and Sandra Quaglia
       Correspondent Brian Quaglia
            Address: 77 Peck Street
                     Rehoboth MA UNITED STATES , 02886
Associated marks
                                                                                                                                     Registration
     Mark                                                                                Application Status        Serial Number
                                                                                                                                     Number
IN & OUT                                                                                                        76687302
                                                                         Plaintiff(s)
                 Name: In-N-Out Burgers
       Correspondent Edward O. Ansell
            Address: Law Office of Edward O. Ansell
                     427 N. Yale Avenue, Suite 204
              Case 8:25-cv-01335               Document 1-8          Filed 06/20/25             Page 11 of 14 Page ID #:91

                        Claremont CA UNITED STATES , 91711
     Correspondent e- anselaw@verizon.net
                mail:
Associated marks
                                                                                                                                Registration
     Mark                                                                            Application Status       Serial Number
                                                                                                                                Number
IN-N-OUT                                                                                                    75137201          2285823
IN-N-OUT BURGER                                                                                             73724456          1514689
IN-N-OUT BURGER                                                                                             74622923          1960015
IN-N-OUT                                                                                                    73133175          1085163
IN-N-OUT                                                                                                    73738305          1522799
IN-N-OUT                                                                                                    73738306          1525982
IN-N-OUT                                                                                                    73133176          1101628
IN-N-OUT                                                                                                    73133174          1101638
IN-N-OUT                                                                                                    75396996          2217307
                                                                 Prosecution History
     Entry Number           History Text                                                                      Date              Due Date
18                       TERMINATED                                                                         May 28, 2009
17                       BOARD'S DECISION: SUSTAINED                                                        May 28, 2009
16                       COPY #15                                                                           May 26, 2009
15                       WITHDRAWAL OF APPLICATION                                                          May 21, 2009
14                       SUSPENDED PENDING DISP OF OUTSTNDNG MOT                                            May 05, 2009
13                       P'S MOTION FOR SUMMARY JUDGMENT                                                    Apr 28, 2009
12                       D'S UNDELIVERABLE MAIL                                                             Apr 13, 2009
11                       P'S RESPONSE TO BOARD ORDER/INQUIRY                                                Apr 09, 2009
10                       TRIAL DATES SET                                                                    Apr 03, 2009
9                        COPY #8 W/CERTIFICATE OF SERVICE                                                   Apr 01, 2009
8                        P'S MOTION TO JOIN INDISPENSIBLE PARTY                                             Mar 30, 2009
7                        TRIAL DATES RESET                                                                  Mar 13, 2009
6                        SUSPENDED PENDING DISP OF OUTSTNDNG MOT                                            Oct 10, 2008
5                        P'S OPPOSITION/RESPONSE TO MOTION                                                  Sep 26, 2008
4                        ANSWER                                                                             Sep 15, 2008
3                        PENDING, INSTITUTED                                                                Aug 26, 2008
2                        NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                           Aug 26, 2008      Oct 05, 2008
1                        FILED AND FEE                                                                      Aug 16, 2008

                                                           Type of Proceeding: Opposition

             Proceeding 91183888                                                Filing Date: May 05, 2008
               Number:
                Status: Terminated                                             Status Date: Jun 13, 2013
            Interlocutory ANN LINNEHAN VOGLER
                Attorney:
                                                                     Defendant
                 Name: Fast Lane Car Wash & Lube, L.L.C.
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Associated marks
                                                                                                                                Registration
     Mark                                                                            Application Status       Serial Number
                                                                                                                                Number
IN & OUT CAR WASH                                                                                           77234104
                                                                     Plaintiff(s)
                 Name: In-N-Out Burgers
            Case 8:25-cv-01335              Document 1-8         Filed 06/20/25         Page 12 of 14 Page ID #:92

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Associated marks
                                                                                                                      Registration
     Mark                                                                    Application Status     Serial Number
                                                                                                                      Number
IN-N-OUT                                                                                          73133175          1085163
IN-N-OUT                                                                                          73738305          1522799
IN-N-OUT                                                                                          73738306          1525982
IN-N-OUT                                                                                          73133176          1101628
IN-N-OUT                                                                                          73133174          1101638
IN-N-OUT                                                                                          75396996          2217307
IN-N-OUT BURGER                                                                                   73724456          1514689
IN-N-OUT BURGER                                                                                   74622923          1960015
IN-N-OUT BURGER                                                                                   76669013          3367471
                                                           Prosecution History
     Entry Number        History Text                                                               Date              Due Date
84                     TERMINATED                                                                 Jun 13, 2013
83                     BD DECISION: DISMISSED                                                     Mar 14, 2013
82                     DEFENDANT'S NOTICE OF RELIANCE EXHIBITS                                    Nov 07, 2011
81                     DEFENDANT'S NOTICE OF RELIANCE EXHIBITS                                    Nov 07, 2011
80                     DEFENDANT'S NOTICE OF RELIANCE EXHIBITS                                    Nov 07, 2011
79                     DEFENDANT'S NOTICE OF RELIANCE EXHIBITS                                    Nov 07, 2011
78                     DEFENDANT'S NOTICE OF RELIANCE EXHIBITS                                    Nov 07, 2011
77                     DEFENDANT'S NOTICE OF RELIANCE EXHIBITS 862-879                            Nov 07, 2011
76                     SUBMITTED ON BRIEF                                                         Apr 11, 2012
75                     PLAINTIFF'S NOTICE OF RELIANCE                                             Apr 04, 2012
74                     P'S REBUTTAL BRIEF                                                         Apr 02, 2012
73                     FINAL BRIEF ON MERITS FOR DEFENDANT(S)                                     Mar 16, 2012
72                     BRIEF ON MERITS FOR PLAINTIFF                                              Feb 14, 2012
71                     P'S NOTICE OF TAKING TESTIMONY                                             Feb 07, 2012
70                     PLAINTIFF'S NOTICE OF RELIANCE                                             Jan 03, 2012
69                     PLAINTIFF'S NOTICE OF RELIANCE                                             Dec 28, 2011
68                     PLAINTIFF'S NOTICE OF RELIANCE                                             Dec 16, 2011
67                     PLAINTIFF'S NOTICE OF RELIANCE                                             Dec 28, 2011
66                     DEFENDANT'S NOTICE OF RELIANCE                                             Nov 07, 2011
65                     DEFENDANT'S NOTICE OF RELIANCE                                             Nov 07, 2011
64                     DEFENDANT'S NOTICE OF RELIANCE                                             Nov 07, 2011
63                     DEFENDANT'S NOTICE OF RELIANCE                                             Nov 07, 2011
62                     DEFENDANT'S NOTICE OF RELIANCE                                             Nov 07, 2011
61                     DEFENDANT'S NOTICE OF RELIANCE                                             Nov 07, 2011
60                     DEFENDANT'S NOTICE OF RELIANCE                                             Nov 07, 2011
59                     TESTIMONY FOR DEFENDANT                                                    Nov 18, 2011
58                     TESTIMONY FOR DEFENDANT                                                    Nov 18, 2011
57                     P'S REBUTTAL PRETRIAL DISCLOSURES                                          Nov 17, 2011
56                     D'S NOTICE OF DEPOSITIONS                                                  Oct 21, 2011
55                     D'S PRETRIAL DISCLOSURES                                                   Sep 16, 2011
54                     PLAINTIFF'S NOTICE OF RELIANCE                                             Sep 09, 2011
53                     PLAINTIFF'S NOTICE OF RELIANCE                                             Sep 09, 2011
52                     EXTENSION OF TIME GRANTED                                                  Jun 17, 2011
51                     P'S MOT FOR EXTEN. OF TIME W/ CONSENT                                      Jun 17, 2011
50                     EXTENSION OF TIME GRANTED                                                  May 19, 2011
49                     STIPULATION FOR AN EXTENSION OF TIME                                       May 19, 2011
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48          EXTENSION OF TIME GRANTED                                          Apr 11, 2011
47          STIPULATION FOR AN EXTENSION OF TIME                               Apr 11, 2011
46          EXTENSION OF TIME GRANTED                                          Mar 17, 2011
45          STIPULATION FOR AN EXTENSION OF TIME                               Mar 17, 2011
44          BOARD'S ORDER TRIAL DATES REMAIN AS PREVIOUSLY SET                 Feb 28, 2011
43          APPEARANCE                                                         Feb 25, 2011
42          EXTENSION OF TIME GRANTED                                          Feb 18, 2011
41          STIPULATION FOR AN EXTENSION OF TIME                               Feb 18, 2011
40          EXTENSION OF TIME GRANTED                                          Jan 19, 2011
39          STIPULATION FOR AN EXTENSION OF TIME                               Jan 19, 2011
38          EXTENSION OF TIME GRANTED                                          Oct 28, 2010
37          STIPULATION FOR AN EXTENSION OF TIME                               Oct 28, 2010

36          D'S MOTION TO CONDUCT DEPO BY VIDEO CONFERENCE GRANTED/REMAINING Sep 20, 2010
            TRIAL DATES RESET
35          P'S MOTION TO QUASH                                                Sep 09, 2010
34          P'S OPPOSITION/RESPONSE TO MOTION                                  Sep 07, 2010
33          D'S MOTION TO COMPEL DISCOVERY                                     Aug 27, 2010
32          EXTENSION OF TIME GRANTED                                          Jul 22, 2010
31          STIPULATION FOR AN EXTENSION OF TIME                               Jul 22, 2010
30          ANSWER                                                             Jul 22, 2010
29          RESPONSE DUE 30 DAYS (DUE DATE)                                    Jun 23, 2010   Jul 23, 2010
28          CHANGE OF CORRESPONDENCE ADDRESS                                   Feb 09, 2010
27          D'S OPPOSITION/RESPONSE TO MOTION                                  Jan 19, 2010
26          SUSPENDED PENDING DISP OF OUTSTNDNG MOT                            Jan 07, 2010
25          P'S MOTION TO AMEND PLEADING/AMENDED PLEADING                      Jan 04, 2010
24          P'S MOTION TO AMEND PLEADING/AMENDED PLEADING                      Jan 04, 2010
23          PL'S MOT. FOR SUMM. JUDGMENT DENIED                                Dec 29, 2009
22          P'S REPLY IN SUPPORT OF MOTION                                     Oct 30, 2009
21          D'S OPPOSITION/RESPONSE TO MOTION                                  Oct 15, 2009
20          AMENDED ANSWER                                                     Sep 14, 2009
19          SUSPENDED                                                          Aug 17, 2009
18          D'S REPLY IN SUPPORT OF MOTION                                     May 26, 2009
17          P COMMUNICATION                                                    May 08, 2009
16          P'S OPPOSITION/RESPONSE TO MOTION                                  May 08, 2009
15          SUSPENDED PENDING DISP OF OUTSTNDNG MOT                            May 01, 2009
14          D'S RESP2 O'S MSJ-56(F)                                            Apr 24, 2009
13          D'S MOTION TO COMPEL DISCOVERY                                     Apr 24, 2009
12          SUSPENDED PENDING DISP OF OUTSTNDNG MOT                            Apr 16, 2009
11          P'S MOTION FOR AN EXTENSION OF TIME                                Apr 13, 2009
10          P'S MSJ AND M4LV2 AMEND NOO                                        Apr 11, 2009
9           Unsigned copy of #10                                               Apr 11, 2009
8           TRIAL DATES RESET                                                  Dec 16, 2008
7           D'S MOTION TO COMPEL DISCOVERY                                     Dec 11, 2008
6           EXTENSION OF TIME GRANTED                                          Aug 06, 2008
5           STIPULATION FOR AN EXTENSION OF TIME                               Aug 06, 2008
4           ANSWER                                                             Jun 12, 2008
3           PENDING, INSTITUTED                                                May 05, 2008
2           NOTICE AND TRIAL DATES SENT; ANSWER DUE:                           May 05, 2008   Jun 14, 2008
1           FILED AND FEE                                                      May 05, 2008
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